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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


 UNITED STATES OF AMERICA,                             CR 15–22–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 ERNEST KHALID CALVERT, JR., aka
 Jonathan, aka Brandon,

                      Defendant.


      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 18, 2015. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Ernest Khalid Calvert, Jr.’s


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guilty plea after Calvert appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to commit

wire fraud in violation of 18 U.S.C. § 371 (Count 1), and two counts of aggravated

identity theft and aiding and abetting in violation of 18 U.S.C. §§ 2 and

1028A(a)(1) (Counts 24 and 25), as set forth in the Indictment. In exchange for

Defendant’s plea, the United States has agreed to dismiss Counts 2-23, 26, and 27

of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

41), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Ernest Khalid Calvert, Jr.’s motion to

change plea (Doc. 29) is GRANTED and Ernest Khalid Calvert, Jr. is adjudged

guilty of the offenses charged in Counts 1, 24, and 25 of the Indictment.

      DATED this 4th day of September, 2015.




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